     Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 1 of 10




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                             SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION
RONDA L. CORMIER                                     :
                                                     :
VERSUS                                               :
                                                     : CIVIL ACTION NO.: 19-CV-04960
                                                     :
DENIS MCDONOUGH, SECRETARY                           :
OF VETERANS AFFAIRS                                  :


                     PLAINTIFF’S SECOND AMENDED COMPLAINT



       Pursuant to Federal Rule of Civil Procedure 15, Plaintiff, Ronda L. Cormier (here in after

referred to as “Plaintiff”) respectfully requested leave to amend and supplement the Complaint in

the above-captioned case. (See Motion for Leave to file Plaintiff’s Second Amended Complaint,

Exhibit One) Plaintiffs sought leave to amend and supplement the Complaint to add an additional

count that alleges new facts discovered during a review of Defendant’s live testimony. Counsel

for Plaintiffs contacted counsel for Defendants in this case on June 2, 2021, to request Defendants’

position on this complaint and Motion in Opposition of Motion to Extend Discovery (motion).

Defendants were not able to respond within the requested timeframe. (See Emails between Plaintiff

and Defendant’s Counsel, Exhibit Two)

                                        BACKGROUND

       1.      Plaintiffs filed a Complaint in this case on December 20, 2019, bringing claims

under the Title VII of the Civil Rights Act of 1964, as amended 42 U.S.C. sections 2000e et seq.

(Title VII) and The Privacy Act at 5 U.S.C. 552(a) (the “Act”) This action arises under laws of the

United States regulating commerce and providing for the protection of Civil Rights.
      Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 2 of 10




                                    JURISDICTION AND VENUE
        2.       The unlawful employment practices alleged in this complaint were committed in

the Southern District of Texas. Plaintiff is employed in the Southern District of Texas. Venue is

proper pursuant to 28 U.S.C. section 1391(b)(2).

                                                  PARTIES

        3.       Plaintiff, RONDA L. CORMIER, is a citizen of the United States of America and

a resident of Texas.

        4.       Plaintiff avers on information belief that Defendant, ROBERT WILKIE 1,

SECRETARY OF VETERANS AFFAIRS, is an active United States governmental agency and

may be sued in this court under Title VII and the Rehabilitation Act.

                               NATURE AND STATUS OF PROCEEDINGS

        5.       The Defendant is an “employer” within the meaning of section 701(b) of Title VII

and the Rehab Act in that it engages in an industry affecting commerce and has employed the

requisite number of employees for the requisite duration under Title VII and the Rehab Act.

        6.       Plaintiff contacted the Office of Resolution Management on July 14, 2016. Her

formal complaint was filed on August 11, 2016.

        7.       Plaintiff timely filed an Appeal of the Final Agency Decision issued on October 30,

2017.




1
 Pursuant to Federal Rule of Civil Procedure 25(d), Denis McDonough is automatically substituted for former
Secretary Robert Wilkie.
        Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 3 of 10




           8.        Plaintiff received a “Notice of Right to File a Civil Action” on or about September

24, 2019, entitling her to commence this action within 90 days of her receipt of that notice. Further,

this Plaintiff has filed within 90 days of the receipt of that notice.

           9.        Plaintiff has satisfied all private, administrative, and judicial prerequisites to the

institution of this action. All administrative remedies have been exhausted. There are no other laws

prohibiting the unlawful employment practices alleged in this complaint under which Plaintiff is

obligated to make a complaint or charge.

                                                 STATEMENT OF FACTS

           10.       Defendant is an employer within the meaning of Title VII of the Civil Rights Act

of 1964, the Rehabilitation Act of 1973, HIPPA Act and Privacy Act in that it employed and

employees the requisite number of employees under Title VII and related acts during all times

relevant to this complaint. Plaintiff is an African American female with a disability and is

employed by defendant, Denis McDonough, Secretary Department of Veteran Affairs.

           11.       On March 16, 2017, Defendant’s employee Jeffery Reeder, 2 engaged in a tendered

a sworn deposition to the agency’s Office of Resolution (ORM) 3 Investigator and testified that he

participated in a forty-five-minute conversation with another employee of the agency, namely,

Deborah McCullam. In this deposition, (S1) testified to the conversation and suggested that he had

not violated the Plaintiff’s privacy rights.

           12.       Here, the Plaintiff became aware of the S1’s unauthorized disclosure during

her examination of S1’s Report of Investigation (ROI) Deposition testimony. The existence




2
    Mr. Reeder is identified in Plaintiff’s Original Complaint as (S1) and will so be referred to as such in this motion.
3
    Currently, entitled Office of Resolution Management Diversity and Inclusion (ORMDI).
     Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 4 of 10




of this information did not become available to the Plaintiff until this time and

subsequently, after she filed her Original Complaint.

        13.     From the evidence presented, Plaintiff learned S1 sought advice from

someone without a need to know and relied on that guidance to take further harassing

actions against the Plaintiff. Namely, giving her a less than fully successful performance

rating, placing her on a PIP and later seeking to remove her for medical inability.

                            INCORPORATION OF ALLEGATIONS

        14.     All allegations in each of the foregoing paragraphs are incorporated by reference

into each of the claims for relief as if fully set forth in the original complaint.

                                       LEGAL STANDARD

        15.     Federal Rule of Civil Procedure 15(a)(2) allows for the amendment of pleadings

with leave of court, or with the opposing counsel’s written consent, before trial. Fed. R. Civ. P.

15(a)(2). The Rule further provides that “[t]he court should freely give leave when justice so

requires.” Id. In addition, Rule 15(d) specifically allows the filing of supplemental pleadings to

allege new facts that occur after the filing of original pleadings. Rule 15(d) states that “[o]n motion

and reasonable notice, the court may, on just terms, permit a party to serve a supplemental pleading

setting out any transaction, occurrence, or event that happened after the date of the pleading to be

supplemented.” Fed. R. Civ. P. 15(d). Because Rule 15(a) instructs that leave to amend pleadings

should be “freely” given, the standard of review is liberal. Indeed, the Ninth Circuit has instructed

that the rule “should be interpreted with ‘extreme liberality,’” Jackson v. Bank of Hawaii, 902

F.2d 1385, 1387 (9th Cir. 1990) (quoting United States v. Webb, 655 F.2d 977, 979 (9th

Cir.1981)), and “[a]n outright refusal to grant leave to amend without a justifying reason is ... an

abuse of discretion.” Smith v. Constellation Brands, Inc., 2018 WL 991450, at *2 (9th Cir. Feb.
     Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 5 of 10




21, 2018) (quoting Leadsinger, Inc. v. BMG Music Publ'g, 512 F.3d 522, 532 (9th Cir. 2008) and

citing Foman v. Davis, 371 U.S. 178, 182 (1962)). A district court only has discretion to deny

leave to amend “‘due to ... repeated failure to cure deficiencies by amendments previously allowed,

undue prejudice to the opposing party by virtue of allowance of the amendment, [and] futility of

amendment.’” Id. at *2 (quoting Zucco Partners, LLC v. Digimarc Corp., 552 F.3d 981, 1007

(9th Cir. 2009) and Leadsinger, Inc., 512 F.3d at 532). Similarly, Rule 15(d) “is intended to give

district courts broad discretion in allowing supplemental pleadings” to promote “judicial economy

and convenience.” Keith v. Volpe, 858 F.2d 467, 473 (9th Cir. 1988); see also San Luis & Delta-

Mendota Water Auth. v. U.S. Dep’t of Interior, 236 F.R.D. 491, 496 (E.D. Cal. 2006) (“Leave

should be freely given”). Supplemental pleadings should be allowed as a matter of course “unless

some particular reason for disallowing them appears.” Keith, 858 F.2d at 473 (citation omitted).

In the case at bar, Plaintiffs seek to amend and supplement her Complaint in order to add a new

incidents arising out of events that happened prior to the date of the filing of the original complaint

but were only made aware to the Plaintiff after the filing of the original complaint.

                                       FIRST CLAIM OF RELIEF

                                  Violation of the Privacy Act of 1974

       16.     The effect of the Defendant’s actions, as alleged above, denied Plaintiff equal

employment opportunities, and discriminated against her based on her disability and failed to

adhere to her reasonable accommodation in violation of Section 5 U.S.C.§ 552a(g)(1)(C) and 5

U.SC.§522a (g)(1)(D).

       17.     An agency has an obligation to maintain, collect, use, or disseminate personally

identifiable information (PII) (e.g. medical information) to only those who have a “need to know”

authority. “No agency shall disclose any record which is contained in a system of records
     Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 6 of 10




by any means of communication to any person, or to another agency, except pursuant to a

written request by, or with the prior written consent of, the individual to whom the record

pertains [subject to 12 exceptions].” 5 U.S.C. § 552a(b). Plaintiff believes the agency in their

effort to zealous represent their agenda shared PII with an individuals who did not have a need to

know in order to perform their duties.

       18.     More importantly, specific safeguards have been put in place to ensure PII is

protect from public consumption or use to those without a need to know. A combination

of administrative, physical, and technical safeguards is needed to protect the personally

identifiable information entrusted to the Defendant. Plaintiff believes these safeguards were

not properly implemented and thus, resulted in a violation of the Act.

       19.     The Act also requires, when transmitting, document(s) or information that

the custodian of the record should maintain a privacy act statement (PAS) which should be

attached to each correspondence related to the PII. Under the statute the PAS must state

the authority; purpose; routine uses; and disclosure. Plaintiff asserts these safeguards and

measures were not effectuated in her case. Therefore, a breach of the Act has occurred.

                               SECOND CLAIM FOR RELIEF

                 Violation of Title VII-Disparate Treatment (Sex and Race)

       20.     The effect of the Defendant’s actions, as alleged above, denied Plaintiff equal

employment opportunities, and discriminated against her based on her race and sex. Based on her

race and sex, African American female, Plaintiff was treated differently and less than favorably

than similarly situated persons who were outside of her protected class when she was subjected to

continued disclosure of her private information such as: medical reports and reasonable
     Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 7 of 10




accommodation requests. Based on her knowledge, information and belief, other employees of a

different race and sex were did not have their private medical condition and/or reasonable

accommodation requests divulge to other colleagues or affiliates. Nor were any did any of the

Plaintiff’s colleagues receive a less than fully successful performance rating or placed on a PIP.

                                THIRD CLAIM FOR RELIEF

                       Violation of Title VII-Hostile Work Environment

       21.     The effect of the Defendant’s actions, as alleged in this complaint, discriminated

against the Plaintiff, and subjected her to a hostile work environment based on her race, sex, and

disability in violation of Title VII and the Privacy Act. Plaintiff is a member of a protected class

under Title VII as she is an African American female with a disability.

       22.     Plaintiff has suffered financial injury as a result. Plaintiff was forced to take

unexpected leave and due to irreparable harm and contentious relationship between she and her

supervisors, she was also forced to accept another lower paying position. Thus, harming her

standard of living.

       23.     Plaintiff has suffered irreparable injury from the defendant's policy and practice as

stated in this complaint.

       24.     Plaintiff has suffered emotional and mental anguish because of Defendant's actions.

       25.     Defendant acted with malice and reckless disregard to plaintiff's civil rights

therefore entitling plaintiff to punitive and/or exemplary damages.

       26.     Plaintiff is entitled to money damages for defendant's violation of his rights as

guaranteed by Title VII and the Privacy Act.
     Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 8 of 10




                                      PRAYER FOR RELIEF

       27.     Based on these incidents, Complaint seeks to amend her Original Complaint [Doc.

1] to include two new incidents that are like and related to the pending claims of harassment and

discrimination. As a matter of judicial law, economy, and convenience, it is appropriate for this

claim to be added to the original Complaint, rather than brought as a separate action. Furthermore,

the addition of these incidents and claims to the existing case would not cause undue prejudice to

Defendants.

       For the above reasons, Plaintiffs respectfully request leave to amend and supplement the

original Complaint in the above-captioned matter.

       WHEREFORE, Plaintiff respectfully prays that this Court enter a judgment:

1.     Declaring that the acts and practices complained of herein are in violation of Title VII,

the Privacy Act and in retaliation;

2.     Awarding plaintiff any back pay with interest on any back pay awarded;

3.     Awarding plaintiff any front pay with interest on any front pay awarded;

4.     Awarding plaintiff any liquidated damages with interest on any liquidated damages

awarded;

5.     Awarding plaintiff any actual damages to justly compensate contractual losses;

6.     Awarding plaintiff compensatory damages, punitive damages, and such other monetary

relief as may be deemed appropriate in amounts to be determined at trial;

7.     Awarding plaintiff prejudgment and post judgment interest to the maximum extent

permitted by law;

8.     Awarding plaintiff costs of suit;
      Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 9 of 10




9.      Awarding plaintiff, the cost of this action together with expert witness fees and

reasonable attorney's fees, as provided by section 706(k) of Title VII, 42 U.S.C. §§ 2000e-6(k),

and the Privacy Act, 5 U.S.C. § 522(a);

10.     Directing defendant to pay plaintiff damages for his mental anguish;

11.     Granting such other and further relief as this Court deems necessary and proper.



                                  DEMAND FOR TRIAL BY JURY

        In accordance with Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands

a trial by jury in this action.

        Respectfully submitted this 4TH day of June 2021.

                                              Respectfully Submitted,

                                              By:/s Ronda L. Cormier
                                              Ronda L. Cormier, Plaintiff
                                              Texas Bar No. 41682403
                                              12400 Shadow Creek Parkway, #306
                                              Pearland, Texas 77584
                                              Tel (713) 854-5599
                                              Ms.lizzette@gmail.com

                                              OF COUNSEL
                                              Chelsey Johnson
                                              Texas Bar Roll: 24109400
                                              16343 Angel Island Lane
                                              Houston, Texas 77053
                                              281-777-5036
                                              Chelsey.johnson419@gmail.com
    Case 4:19-cv-04960 Document 53 Filed on 06/06/21 in TXSD Page 10 of 10




                                CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of June 2021, a true and correct copy of the foregoing

was served via CM/ECF, in accordance with the Federal Rules of Civil Procedure, on the

following:


              Lander B. Baiamonte
              Assistant United State Attorney
              Southern District of Texas
              800 N. Shoreline Blvd., Suite 500
              Corpus Christi, TX 78401


                                                     s/Ronda L. Cormier
                                                     Ronda L. Cormier, Plaintiff
